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                      UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF NEW YORK


U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       )   Civil Action No.:
     Plaintiff,                        )   19-cv-5244 (AKH)
                                       )
     v.                                )
                                       )
KIK INTERACTIVE INC.,                  )
                                       )
     Defendant.                        )

                  BRIEF OF AMICUS CURIAE THE BLOCKCHAIN
                   ASSOCIATION IN SUPPORT OF DEFENDANT




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                              INTEREST OF AMICUS CURIAE

       The Blockchain Association is a not-for-profit organization that seeks to improve public

policy to help blockchain networks develop and prosper in the United States. It seeks to educate

policymakers, courts, and the public about how blockchain technology works and how regulatory

clarity can bring about a more secure, transparent, and innovative digital marketplace. This future

holds immense promise for U.S. consumers, investors, and innovators. Cryptocurrency—only one

of many applications of blockchain technology—is by itself at least a $200 billion industry. Many

other industries also stand to gain from reduced remittance fees, improved supply chains, and other

advantages of the technology. The Blockchain Association comprises 27 member companies,

which themselves represent billions of dollars in market capitalization and thousands of employees

in the United States. Given the potential impact of this case on our members and the broader

industry, the Blockchain Association respectfully submits this brief to aid the Court’s

consideration and advance the industry’s interests in a stable and sensible U.S. legal environment

governing their investments and innovation.

                              SUMMARY OF THE ARGUMENT

       This Court will be among the first to analyze whether, and under what circumstances,

blockchain “tokens” or “digital assets” are considered securities. Innovators, investors, users, and

regulators will all closely analyze the Court’s decision, which will influence decisions in a

hundred-billion dollar industry that provides thousands of Americans with jobs. Because of the

potential impact of the case and novelty of the issues presented, the Court should decide the case

narrowly and based on the established pillars of existing securities law.

       The Court must first determine whether the Kik pre-sale to accredited investors and the

Kin token sale to public buyers were in fact one integrated sale of securities. The Court must then


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apply the familiar test of Howey v. SEC to determine whether the Kin tokens were securities: did

buyers invest in a common enterprise with the expectation of profits to be derived primarily from

the efforts of others? Applying Howey to the record evidence in this particular case—rather than

issuing a broader ruling that might inadvertently put all cryptocurrency on trial—represents the

appropriate and limited approach to the summary judgment motions before the Court. Deciding

whether Howey applies to the tokens at issue could provide the industry and regulators alike with

greater clarity about the applicability of well-established SEC exemptions to newly created digital

assets.

          The Court should not adopt the novel theory advanced in the recent Telegram decision:

that complying with existing securities exemptions by contracting with sophisticated accredited

investors amounts to a “scheme” to distribute unregistered securities to the public at some point in

the future. The Telegram decision treats cryptocurrency as somehow different from every other

industry. Following that decision could undermine innovation in an important new field of

technology while excluding an industry from the same securities law exemptions that are supposed

to apply uniformly.

          In this case, the SEC is attempting to leverage the concept of “integration” to sweep under

the rug the important differences in Kik’s activities. All Kin are “fungible,” the SEC says, “and

provided their holders with the same rights.” SEC’s Memorandum of Law in Support of Motion

for Summary Judgment at 47 (ECF No. 58) (“SEC MSJ”). This is true, but incomplete. Kik’s initial

presale, in accordance with Regulation D, raised capital by promising to deliver Kin in the future.

That enforceable contractual commitment—a genuine “right”—is quite distinct from what an

individual buyer of Kin later received: a functional asset to use and consume. The SEC

nevertheless contends that the Court should treat these legally and factually distinct sales as a



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single distribution or “integrated offerings” in order to manufacture a securities violation. The

government’s case, therefore, calls into question whether companies may enter into a private

placement with sophisticated investors under SEC Rule 506 (Regulation D) to fund a blockchain

network, and then later sell (or otherwise distribute) tokens to the public once the network is

functional. Improperly conflating Kik’s private placement and public sale, however, would defeat

the purpose of the SEC’s existing rules and contradict its previous position.

       Before filing this action, the SEC had provided limited guidance on how to fund and

introduce blockchain networks. But what it had said differs drastically from its approach to this

case. Indeed, the funding model challenged here is one consistent with and encouraged by the

SEC’s own statements, both when Kik launched Kin and even after. The Chairman and the Director

of Corporation Finance have acknowledged that a digital asset “can evolve toward or away from

a security.” De, infra n.21. Contrary to the SEC’s approach in this case, previously it recognized

that “[j]ust because [a particular instrument is] a security today doesn’t mean it’ll be a security

tomorrow, and vice-versa.” Id.; see also Hinman, infra n.6. The statements came while addressing

the “SAFT” (“Simple Agreement for Future Tokens”) funding model Kik used in this very case.

Accordingly, the agreements at issue promised to deliver tokens to accredited investors only once

those tokens provided a functional medium of exchange outside the SEC’s own understanding of

a security. The investment contract and the underlying asset are distinct. “Conflating the two

concepts,” as one Commissioner anticipated, “has limited secondary trading and has had disastrous

consequences for the ability of token networks to become functional.” Peirce, infra n.23.

       Given these potential implications, the Blockchain Association respectfully requests that

this Court follow existing SEC rules and guidance: the sale of digital assets under a statutory

exemption, or their circulation to the public once a functional network exists, does not amount to



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an improper distribution of unregistered securities. Rather, the fact-specific test under Howey

continues to govern whether a particular asset amounts to a security.

                                             BACKGROUND

         A.      Digital Assets Are Important to U.S. Economic Growth

         A blockchain is a distributed ledger—a database that can accurately, securely, and

efficiently record multiple copies of data across many computers in a network. The simplest way

to think about a blockchain is as a spreadsheet or database that does not rely on a single party to

update entries, but that relies instead on a community or group process for updating and validating

data.

         Hundreds of innovators—including governments, NGOs, startups, and large public

companies like IBM, Microsoft, Amazon, and Walmart—are exploring a wide variety of potential

uses for blockchain ranging from election security to drug tracking to identity-fraud prevention.1

“Digital assets” or “cryptocurrencies” are one important application of this technology. As

financial ledgers, blockchains can make financial transactions more programmable and less

expensive. Cryptocurrencies allow people to send value across the globe digitally, instantly, and

securely, without the need for intermediaries. A digital asset or cryptocurrency consists of

tokens—each of which is simply a sequence of letters and numbers. The blockchain records this

alphanumeric sequence, and tracks the owners of those tokens and any transfers of that digital

asset.

         As a result of the benefits of blockchains, policymakers have emphasized the importance

of ensuring that blockchain technology can thrive in the United States. A 2018 Joint Economic




1
See, e.g., Michael del Castillo, Blockchain 50: Billion Dollar Babies,                     (Apr.   16,   2019),
www.forbes.com/sites/michaeldelcastillo/2019/04/16/blockchain-50-billion-dollar-babies/.

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Committee report urged governments “not [to] prejudge and hinder technological developments.”2

A bipartisan group of lawmakers recently recognized that “[b]lockchain is an example of digital

innovation that has the potential to transform a myriad of industries through its ability to improve

the transparency, efficiency, and security of transactions and information.”3

        B.       Not All Digital Assets Are Alike—and Many Are Not Securities

        The applicability of the securities laws to digital assets is not one-size-fits-all. The

definition of “security” under the Exchange Act includes “investment contracts” as well as other

familiar instruments such as stocks and bonds, though it excludes commodities and currencies. See

15 U.S.C. § 78c(a)(10). The Supreme Court has defined an “investment contract” as (1) the

investment of money (2) in a common enterprise (3) with a reasonable expectation of profits (4)

to be derived solely from the efforts of others. SEC v. W.J. Howey Co., 328 U.S. 293, 298–300

(1946). The orange-grove interests at issue in Howey satisfied these criteria because investors were

buying not just land or fruit, but instead the opportunity to receive profits from the efforts of others

who promised to use the invested capital to manage the orange grove and sell its fruit. See id. The

question here is how to apply that WWII-era precedent to a rapidly developing medium of digital

exchange.

        The fact-specific nature of the Howey analysis means some digital assets reflect investment

contracts while others do not.4 Applying Howey to novel and varied blockchain projects is not a



2
 U.S. Congress Joint Economic Committee, The 2018 Joint Economic Report, at 20–21, 225–26,
https://www.congress.gov/115/crpt/hrpt596/CRPT-115hrpt596.pdf.
3
 Joe Mont, Reps Urge White House to Support Blockchain, (May 29, 2019), www.complianceweek.com/regulatory-
enforcement/reps-urge-white-house-to-support-blockchain/27167.article.          “[B]lockchain,”    lawmakers     have
recognized, “ha[s] the greatest potential to take us into the fully fledged technological age.” Jemayel Khawaja, Meet
the American Legislators Bullish on Blockchain, (Feb. 19, 2019) (quoting Rep. Tom Emmer),
https://media.consensys.net/blockchain-law-congress-house-senate-2019-133e30fd5dd5.
4
 See, e.g., United States v. Zaslavskiy, No. 17-cr-647, 2018 WL 4346339, at *4 (E.D.N.Y. Sept. 11, 2018) (“Whether
a transaction or instrument qualifies as an investment contract is a highly fact-specific inquiry.”).

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uniform determination; only some will involve common investments in a third party’s managerial

efforts to turn a profit. The Blockchain Association respectfully urges this Court to recognize that

variety and nuance in its review of this case.

        To assess whether a token is a security, it is critical to understand the market value and

legal significance of a particular asset—a question that varies widely for different digital assets

and blockchain systems. So-called “security tokens,” for example, entitle their holders to a return

on the profits from an investment fund. “Equity tokens” represent ownership of a particular asset,

like debt or corporate stock. These are undoubtedly considered securities.

        For some digital assets, by contrast, such as the well-known cryptocurrency Bitcoin, a

token merely represents ownership of an asset that others are willing to exchange in the

marketplace. The token’s value comes from other people exchanging that asset for goods and

services on the corresponding blockchain network—forming a market for the tokens. In this sense,

cryptocurrencies function just like ordinary currencies, the value of which fluctuates based on

market participants’ demand to use that means of exchange.

        Accordingly, the SEC has acknowledged that two of the most notable digital assets—

Bitcoin and Ether, accounting for 75% of cryptocurrency market value—are not securities.5

Holders of these digital assets, the SEC has apparently concluded, have no “expectation of return

by a third party,” with no central party responsible for the success of the enterprise. According to

the SEC’s Director of Corporation Finance William Hinman, “the Supreme Court has

acknowledged that if someone is purchasing an asset for consumption only, it is likely not a




5
 Bob Pisani, Bitcoin and Ether are not Securities, CNBC (June 14, 2018), www.cnbc.com/2018/06/14/bitcoin-and-
ethereum-are-not-securities-but-some-cryptocurrencies-may-be-sec-official-says.html (quoting the SEC’s Director of
Corporation Finance William Hinman).

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security.”6 Thus the SEC has also recognized that purely functional digital assets—offering access

to video games or jet travel, for example—are not securities; they merely give holders a stake in

the output, rather than equity, of a commercial enterprise.7

           C.      The SEC Has Provided Little Regulatory Clarity on the Securities-Law Status
                   of Digital Assets

           Given the wide range of digital assets, and the importance of their treatment under the

securities laws, the SEC might have been expected to provide guidance about their legal status

before filing an enforcement action. No settled precedent or agency rulemaking addressed whether

and when digital assets amounted to securities.8

           Yet aside from the handful of acknowledgments above, the SEC provided little clarity

about its own interpretation of the securities’ laws application to digital assets. One SEC

Commissioner has likened the SEC’s guidance on the question whether digital assets are securities

to a Jackson Pollock painting: “splashing lots of factors on the canvas without any clear message.”9

This avant-garde approach has regrettably left policymaking to novel enforcement actions like this

one. It exposes blockchain developers and their projects to the threat of ad hoc litigation and

enforcement, while depriving the public of any notice or comment. Instead, market participants



6
 William Hinman, Digital Asset Transactions: When Howey Met Gary (Plastic), (June 14, 2018),
https://www.sec.gov/news/speech/speech-hinman-061418 (citing United Housing Found., Inc. v. Forman, 421 U.S.
837, 853 (1975)).
7
 See, e.g., Mark Butler, SEC Issues Second No-Action Letter for Crypto Sales – This Time for Gamers, (Aug. 8, 2019),
https://www.intelligize.com/sec-issues-second-no-action-letter-for-crypto-sales-this-time-for-gamers/ (reporting on
the SEC’s no action letters for TurnKey Jet and Pocketful of Quarters).
8
 This ad hoc approach stands in stark contrast to the SEC’s approach to the novel regulatory issues concerning
crowdfunding ventures like Kickstarter and Indiegogo. There entrepreneurs solicited public investment to develop a
project in return for a share of the profits or specific rewards. In response, the SEC (at Congress’ direction) engaged
in formal rulemaking to promulgate clear exemptions for crowdfunding. See 17 C.F.R. § 227.100, et seq. That
regulatory clarity enabled the flourishing of this powerful tool for small businesses’ capital formation. See, e.g., C.
Steven Bradford, Crowdfunding and the Federal Securities Laws (Oct. 7, 2011), https://www.sec.gov/i
nfo/smallbus/acsec/bradford_crowdfunding.pdf.
9
    Hester M. Peirce, How We Howey (May 9, 2019), https://www.sec.gov/news/speech/peirce-how-we-howey-050919.

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have been forced to hunt for regulatory clues among the SEC’s limited grab bag of statements,

speeches, no-action letters, closed-door meetings, and settlements.

                    Enforcement: The SEC has brought a handful of one-off enforcement actions,
                     which have been criticized as “regulation by enforcement rather than by
                     guidance.”10 Even “taken together” with staff guidance, these “offer no clear path
                     for a functioning token network to emerge.”11

                    Two unhelpful no-action letters: The industry hoped that the SEC might issue no-
                     action letters indicating parameters for tokens’ status as non-securities, but only
                     two have issued so far involving tokens that no one ever thought could possibly be
                     considered securities.12 One addressed what were effectively airline miles
                     (redeemable for flight services at $1 per token),13 while the other concerned digital
                     arcade tokens developed by a 12-year-old.14

                    An open-ended and confusing guidance “framework”: In April 2019, the SEC’s
                     Strategic Hub for Innovation and Financial Technology published an informal
                     framework for analyzing whether digital assets are securities.15 It set forth a laundry
                     list of 38 factors—many with multiple sub-parts—to “consider in assessing whether
                     a digital asset is offered or sold as . . . a security.” Id. SEC staff defensively cast the
                     Framework as “not a rule, regulation, or statement of the Commission,” in an
                     apparent attempt to insulate it from judicial review. Id. The Framework was
                     immediately met with external and even internal criticism for its complexity.16 And
                     the open-ended Framework stands in stark contrast to the statements from Director



10
  Kollen Post, Rep. Warren Davidson: You Have to Defend Money to Defend Freedom (Oct. 22, 2019),
https://cointelegraph.com/news/rep-warren-davidson-you-have-to-defend-money-to-defend-freedom.
11
 See Hester M. Peirce, Broken Windows: Remarks before the 51st Annual Institute on Securities Regulation (Nov. 4,
2019), www.sec.gov/news/speech/peirce-broken-windows-51st-annual-institute-securities-regulation. In December
2017, the agency settled with Munchee, a food-review app developer. In September 2019, the agency settled civil-
penalty charges against Block.one. And the SEC has relied on basic fraud theories to sue RECoin, PlexCoin, and
AriseBank.
12
 SEC, Response for Pocketful of Quarters, Inc. (July 25, 2019) https://www.sec.gov/corpfin/pocketful-quarters-inc-
072519-2a1; SEC, Response for TurnKey Jet, Inc. (Apr. 3, 2019), https://www.sec.gov/divisions/corpfin/cf-
noaction/2019/turnkey-jet-040219-2a1.htm.
13
     TurnKey Jet, Inc., supra n.12.
14
     Pocketful of Quarters, Inc., supra n.12.
15
  SEC, Framework for ‘Investment Contract’ Analysis of Digital                          Assets   (Apr.    3,    2019)
https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets.
16
  Zuluaga, The SEC Can’t Keep Kik-ing the Crypto Can Down the Road, Coindesk (June 5, 2019),
https://www.coindesk.com/the-sec-cant-keep-kik-ing-the-crypto-can-down-the-road (the framework “turn[ed] the 70-
year-old, four-pronged Howey test into a 40-point-plus list of potential reasons why the SEC might consider a token
offering to be an offering of securities.”); Peirce, supra n.9 (the framework “could raise more questions and concerns
than it answers”).

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                 Hinman and others, discussed below, that encouraged the industry’s adoption of the
                 exempt pre-sale fundraising model.

                Closed-door meetings: The SEC has repeatedly tied up individual projects in
                 extensive pre-launch consultations, creating “a body of secret law” with a “lack of
                 transparency and accountability.”17 Though it “binds market participants like law,”
                 it remains “immune from judicial—and even Commission—review.” Innovators
                 are “literally told if you want to launch a token, whatever you think you want to do
                 with it, come check with the SEC first.”

        In this case, the SEC has touted its “DAO Report” as providing the industry with notice of

potential regulatory enforcement. See SEC MSJ at 5, 7–8, 60, 63. This report, the SEC says, gave

Kik and the industry all the warning it needed that digital assets could be securities. See id. But

this single, fact-specific report concerned a particular token that obviously was a security. The

“Decentralized Autonomous Organization” tokens would entitle token holders to support, vote on,

and profit from business ventures—just like a shareholder.18 Token holders were entitled to vote

on projects for the DAO to fund, and the DAO would receive financial returns from the projects

and distribute them to token holders. See id. The organization’s direct-voting structure may have

been a novel form of governance, but its tokens plainly were securities. The SEC’s report

confirming this obvious fact gave innovators and investors little guidance about how to evaluate

models different from traditional equity securities. Nor did it provide any warning that the SEC

would attempt to prevent those in the blockchain industry from relying on long-standing

exemptions like Regulation D.




17
  Hester M. Peirce, Secret Garden: Remarks at SEC Speaks, (Apr. 8, 2019), https://www.sec.gov/news/speech/peirce-
secret-garden-sec-speaks-040819.
18
  See SEC Release No. 81207 at 1 (July 25, 2017) (“The holders of DAO Tokens stood to share in the anticipated
earnings from these projects as a return on their investment in DAO Tokens.”), https://www.sec.gov/litigation/
investreport/34-81207.pdf.

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                                           ARGUMENT

I.     The Pre-Sale Model Is Consistent with SEC Rules and Guidance

       A.      Before these Enforcement Actions, the SEC’s Statements Had Encouraged the
               Exempt Pre-Sale Fundraising Model

       Despite its otherwise hazy regulatory framework, the SEC previously offered consistent

guidance on two key points. First, the interests or assets embodied in a blockchain token may

change over time, such that a token representing a security at one point in time will not necessarily

remain a security. A “digital asset can,” according to Director Hinman, “over time, become

something other than a security.” Hinman, supra n.6. “[T]he analysis of whether something is a

security is not static,” and an instrument ceases to satisfy Howey when “the network on which the

token or coin is to function is sufficiently decentralized.” Id.

       Second, given this potential for change, the industry could utilize existing exemptions from

securities registration and sale requirements to raise capital, particularly through private

placements under Regulation D. As Director Hinman has explained, blockchain innovators might

“conduct the initial funding through a registered or exempt equity or debt offering and, once the

network is up and running, distribute or offer blockchain-based tokens or coins to participants who

need the functionality the network and digital assets offer.” Hinman, supra n.6. “This allows the

tokens or coins to be structured and offered in a way where it is evident that purchasers [of the

tokens after the network launch] are not making an investment in the development of the

enterprise.” Id. Although the characteristics of the particular offering would always be relevant,

Director Hinman made “clear [that] I believe a token once offered in a security offering can,

depending on the circumstances, later be offered in a non-securities transaction.” Id.




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        The Director’s remarks reflected existing SEC rules that promulgated after notice and

comment, and amounted to an important statement that innovators and investors took seriously.19

This was entitled to respect as reflecting the agency’s views. Director Hinman is “the principal

advisor to the [SEC] in matters pertaining to” these provisions of the Securities Act. Cf. Her

Majesty the Queen v. U.S. EPA, 912 F.2d 1525, 1532 (D.C. Cir. 1990) (letter from Acting Assistant

Administrator of Air and Radiation constituted position of the agency). “[N]othing . . . provides

us reason to question his authority to speak for the [agency].” Cal. Comms. Against Toxics v. EPA,

934 F.3d 627, 636 (D.C. Cir. 2019) (reaffirming Her Majesty the Queen).20

        Director Hinman’s view finds broad support. It is supported by Howey itself, which

recognized its test “embodies a flexible rather than a static principle.” 328 U.S. at 299. Other SEC

Commissioners have also supported Director Hinman’s view.

        For example, SEC Chairman Jay Clayton has focused on the functionality of the digital

asset and explained that: “[t]he use [of cryptocurrency] can evolve toward or away from a security

. . . . Just because it’s a security today doesn’t mean it’ll be a security tomorrow, and vice-versa.”21

Chairman Clayton offered an example of an investor who funds a Broadway play in exchange for

presale tickets. The agreement might initially be a security: investors expect profits based on the

theatre’s ability to produce an attractive show that drives ticket demand and value.22 But once the



19
  See, e.g., Philipp Hacker, et al., Regulating Blockchain: Techno-Social and Legal Challenges at 253 (1st ed. 2019)
(“Hinman’s analysis is broadly consistent with the SAFT white paper’s analysis that sales of pre-functional tokens
may qualify as securities transactions and, later, when the tokens are functional and sold as useful commodities on a
distributed network, no longer qualify as a securities transaction.”).
20
  See also 17 C.F.R. § 200.18 (duties of Director of Corporation Finance). Director Hinman’s speech frequently used
the word “we,” cf. Her Majesty the Queen, 912 F.2d at 1532 (giving weight to similar usage of “we”); and it was
posted on the SEC’s website.
21
  Nikhilesh De et al., SEC Chief Touts Benefits of Crypto Regulation, CoinDesk (Apr. 6, 2018),
https://www.coindesk.com/sec-chief-not-icos-bad/.
22
  Times Talks, SEC Chairman Jay Clayton & Andrew Ross Sorkin (Nov. 29,                                        2018),
https://www.timestalks.com/talks/timestalksdealbook-andrew-ross-sorkin-and-s-e-c-chairman-jon-clayton/.

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show has opened, the tickets would not be securities; they would merely allow the holder to access

the show, despite the existence of a secondary ticket marketplace.

            Commissioner Hester Peirce likewise has recognized that blockchain projects can “mature

into a functional or decentralized network that is not dependent upon a single person or group to

carry out the essential managerial or entrepreneurial efforts.”23 Because digital assets can change

from securities to non-securities over time, Commissioner Peirce has proposed a three-year “safe

harbor” that would allow time for blockchain projects to mature from securities into non-securities

through “the development of a functional or decentralized network, exempted from the registration

provisions of the federal securities laws.” Id.

            The SEC’s Framework for “Investment Contract” Analysis of Digital Contracts expressed

a similarly dynamic view of tokens’ status. “In evaluating whether a digital asset previously sold

as a security should be reevaluated at the time of later offers or sales,” the Framework

acknowledged, “there would be additional considerations.” Framework, supra n.15 at 5, 8. The

Framework stated explicitly that it was “identif[ying] some of the factors to be considered in

determining whether and when a digital asset may no longer be a security.” Id. at 9 (emphasis

added). And all of this is consistent with the SEC’s well-known acceptance of Bitcoin and Ether

as non-securities, because the digital assets now exist on functional or decentralized blockchain

networks.24

            The exempt pre-sale approach (in this case referred to as a “Simple Agreement for Future

Tokens” or “SAFT”) that Kik, Telegram, and others have used was designed around this very

notion that because the Howey analysis can change over time, the analysis is specific to the specific


23
 Hester M. Peirce, Running on Empty: A Proposal to Fill the Gap Between Regulation and Decentralization (Feb. 6,
2020), https://www.sec.gov/news/speech/peirce-remarks-blockress-2020-02-06.
24
     See De, supra n.21.

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instrument or investment contract being sold at a given time. The exempt pre-sale agreement is an

investment contract offered by digital asset developers to accredited investors pursuant to

Regulation D. 17 C.F.R. § 230.506. Accredited investors fund a token project and receive in return

the right to a certain number of the project’s tokens. But those tokens would be received in the

future, once the network is functional or decentralized. Developers “use the funds to develop

genuinely functional network, with genuinely functional utility tokens, and then deliver those

tokens to the investors once functional.”25

         B.       The Telegram Order Contradicted the SEC’s Prior Position and the Industry’s
                  Reliance

         Despite the SEC’s attention to the funding of blockchain projects, only one judicial

decision has directly addressed the issue of whether and when digital assets are securities.26 See

SEC v. Telegram Group Inc., 1:19-cv-9439, slip op. (S.D.N.Y. Mar. 24, 2020) (the “Telegram

Order”). There, the court entered a preliminary injunction halting a cryptocurrency distribution by

Telegram Group and TON Issuer (“Telegram”). That interlocutory decision “lacks precedential

value because the matter is on appeal.” Bildstein v. Mastercard Int’l Inc., 329 F. Supp. 2d 410, 415

n. 1 (S.D.N.Y. 2004); Notice of Appeal, Telegram, 1:19-cv-09439 (filed Mar. 24, 2020) (ECF No.

228). And the Telegram Order is erroneous and distinguishable from this case in important

respects.

         Telegram involved an exempt presale agreement: accredited investors gave money to

Telegram to develop a cryptocurrency—“Grams”—in exchange for a future right to receive Grams




25
  Juan Batiz-Benet et al., The SAFT Project: Toward a Compliant Token Sale Framework, at 1 (Oct. 2, 2017),
https://saftproject.com/static/SAFT-Project-Whitepaper.pdf.
26
  Beyond Telegram, the few decisions involving digital assets involved blatant fraud; the securities status of the digital
assets themselves was incidental. See, e.g., Zaslavskiy, No. 17-cr-647, 2018 WL 4346339 at *1.

                                                           13
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after Telegram developed the digital asset and its network. Telegram Order at 1. Telegram never

distributed Grams to the public or even to the initial investors. Id.

       It was undisputed that the Grams themselves were not securities. See id. at 38–39. The

court, too, correctly recognized that a Gram “is little more than alphanumeric cryptographic

sequence, id., and that “an investment of money in a cryptocurrency utilized by members of a

decentralized community connected via blockchain technology . . . is not likely to be deemed a

security under the familiar test laid out in [Howey].” Id. at 2. Rather than following an orthodox

Howey analysis, the Telegram court treated the SAFT agreements and “the anticipated distribution

of Grams by the Initial Purchasers to the public via the TON Blockchain [as] part of a single

scheme.” Id. at 18. It reached this surprising conclusion because “Initial Purchasers would earn a

profit” by reselling the Grams they were to receive according to their SAFT investments. Id. at 18.

       This holding suffers from at least three critical errors.

       First, the court conflated distinct securities law concepts: private placements and future

distributions. This violates the SEC’s own expressed views. Regulation D offerings commonly

envision some re-sale by the accredited investors who buy first. But that does not mean that the

upstream investor is an underwriter or the downstream sale is a securities offering. Each must be

analyzed independently based on the facts at the time. “The ‘contract, transaction or scheme’ by

which the token is sold may constitute an investment contract; but, the object of the investment

contract—the token—may not bear the hallmarks of a security. Conflating the two concepts has

limited secondary trading and has had disastrous consequences for the ability of token networks

to become functional.” Peirce, supra n.23 (emphasis added).

       Second, the Telegram court never identified the “security” initial purchasers would sell to

the public in violation of the securities laws. That security could not have been a Gram, which,



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again, the court found “is little more than alphanumeric cryptographic sequence.” Id. at 38–39; see

also Hinman, supra n. (“the token—or coin or whatever the digital information packet is called—

all by itself is not a security, just as the orange groves in Howey were not.”). The court’s silence

on this critical issue is deafening in light of the SEC’s repeated recognition that a digital asset sale

might represent an investment contract at one stage (an exempt pre-sale agreement under

Regulation D) but cease to be a security at another point (a decentralized or functional commodity).

See supra § I.A, p.10. Chairman Clayton, Commissioner Peirce, and Director Hinman have all

acknowledged this. It is therefore essential to have clear lines between each regime, as people will

not be able to use and trade digital assets if their security-status is perpetually uncertain. The

Telegram court, regrettably, obscured that distinction by signaling that sales of post-launch Grams

by initial investors would involve securities. What that security was or when it would cease to be

a security is entirely unclear. This Court should not add to the confusion; the line between security

and non-security should remain at the clearest point under existing law.

        Third, the Telegram court ignored that even if Grams would be “securities” when the

network is launched, that does not necessarily invalidate Telegram’s reliance on Regulation D.

There are numerous ways that private investors can sell securities purchased in private placements

without violating U.S. securities law. For example, private investors could sell Grams after holding

them for more than 12 months under Rule 144 without being “underwriters.” See 17 C.F.R.

§ 230.144(b)(1)(i). They could sell Grams to other accredited investors pursuant to Section 4(a)(7)

of the Securities Act. Or they could sell Grams in foreign jurisdictions where the tokens would not

be treated as a security, regardless of U.S. law. See United States v. Morrison, 529 U.S. 598 (2000).

By conflating the private placement of investment contracts and future sales of Grams, the




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Telegram court jumped the gun: it prematurely rejected, or simply ignored, numerous ways that

initial investors could comply with U.S. securities law.

        C.      The Telegram Order Is Distinguishable Because It Rested on Findings of Fact
                not Applicable or Appropriate Here on Summary Judgment

        The Telegram court also decided the case on a different standard than the one facing this

Court. Although Telegram and the SEC had filed cross-motions for summary judgment, the court

specifically avoided ruling on those motions, finding them “unnecessary to reach at this juncture.”

Telegram Order at 3. Instead, the court limited its ruling to the SEC’s motion for preliminary

injunction motion. Id. This left the court free to make factual findings that it could not on summary

judgment. See Tuccillo v. Geisha NYC, LLC, 635 F. Supp. 2d 227, 246 n. 16 (E.D.N.Y. 2009)

(summary judgment presents a “completely different procedural posture” from preliminary

injunctions where the court “is competent to make findings of fact”).

        Indeed, the court found “as a fact” what it viewed to be the investors’ real expectations.

Telegram Order at 17–18. That factual finding was central to the Telegram court’s conclusion that

Telegram’s exempt pre-sale agreements were “part of a larger scheme.” Id. at 38; see also id. at

25, 30–31, 37. This factual finding was also a necessary predicate before the court could apply the

Howey analysis to a combination of both the past private placement and expected future Gram

sales. This factual finding would not have been appropriate on summary judgment.

II.     The Pre-Sale Model Used By Kik Complies with U.S. Securities Law

        A.      Kik’s Pre-Sale Involved a Lawfully Exempt Transaction that Raised Capital
                to Develop Kin

        The SEC’s prior guidance is correct, while the SEC’s position in this litigation is wrong.

The SAFT contract model, on which Kik based its pre-sale for Kin, complies with the letter and

spirit of the securities laws.



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        The principal purpose of the federal securities laws is to protect investors.27 Congress—

and, by extension, the SEC—typically seek to protect investors by ensuring they have adequate

information upon which to make investment decisions.28 To that end, the federal securities laws

have established a disclosure regime designed to ensure investors receive information that would

enable them to weigh the relative merits and risks of an investment. See SEC v. Sunbeam Gold

Mining Co., 95 F.2d 699, 701 (9th Cir. 1938). The federal securities laws, however, acknowledge

that some sophisticated investors may need less protection. This allows issuers and investors to

operate more efficiently by avoiding some of the more burdensome aspects of registration and

disclosure. Congress and the SEC have established several different categories of such investors,

including “accredited investors.” 17 C.F.R. § 230.501(a).

        The SAFT pre-sale contracts were indisputably securities. Kik treated them as securities.

See Kik Interactive, Inc.’s Memorandum of Law in Support of Its Motion for Summary Judgment

at 38–41 (ECF No. 62) (“Kik MSJ”). Kik contracted only with accredited investors, relying on

Regulation D’s Rule 506(c) exemption, and filed a Form D disclosing the sale. See id.; see also 17

C.F.R. § 230.506(c). Kik then used the proceeds to develop the Kin network into a product that

provides genuine utility. See Kik MSJ at 6–7. Only once Kin existed as digital tokens tradable on

a network did Kik deliver tokens to investors according to their contracts—similar to the way a

bond holders receive coupon payments and principal or a futures contract holder takes delivery of

the commodity. See Kik MSJ at 5, 37 n.11. From a policy perspective, Congress’s and the SEC’s

decision makes sense: the pre-functional investors must be able to bear enterprise risk—which is


27
  SEC, What We Do, https://www.sec.gov/Article/whatwedo.html (“The mission of the U.S. Securities and Exchange
SEC is to protect investors, maintain fair, orderly, and efficient markets, and facilitate capital formation.”).
28
   SEC, The Laws That Govern the Securities Industry, Securities Act of 1933, https://www.sec.gov/answers/about-
lawsshtml.html#secact1933 (One of the “basic objectives” of the Securities Act of 1933 is to “require that investors
receive financial and other significant information concerning securities being offered for public sale.”).

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why Kik initially sold Kin to accredited investors—while the eventual token-holders are merely

bearing functional-product risk or currency-risk. This tracks how a theatre can provide returns to

its investors (Chairman Clayton’s analogy) by distributing discounted tickets for the show without

the tickets themselves being securities.

       The SAFT allows only accredited investors to invest before the network is functional. The

SAFT framework seeks to ensure that the appropriate laws apply to the elements of a token sale:

when developers agree on the SAFT with investors, they are selling a security subject to the

investor-protection laws. And when the tokens are ultimately distributed, the risks that investor-

protection laws mitigate are absent. The network is functional, the developers have already

expended their efforts, and future purchasers cannot expect profits based on the efforts of others

subject to disclosure requirement. This approach to developing a blockchain harmonizes the SEC’s

mandate of investor protection with the need for capital formation.

       Yet this enforcement action bizarrely attacks the decision to use an investment model

designed expressly to comply with the SEC’s own regulations. Nothing in the securities laws or

precedent suggests that an issuer cannot enter into an investment contract with accredited investors

under Regulation D and deliver the resulting products to those accredited investors in satisfaction

of those contracts or sell the product developed through that investment.

       Indeed, the entire purpose of the exempt pre-sale model is to provide developers with

lawful access to capital from accredited investors to build functional, non-security tokens and

networks. This model complies with the securities laws, SEC regulations, and the repeated views

of the SEC’s Commissioners and Directors. Any particular concerns regarding the implementation

or timing of Kik’s pre-sale would surely be limited to those specific facts, without implying that




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blockchain investments lack access to capital on the same basis as other innovators complying

with U.S. securities laws.

       B.      Kik Used Funds Raised through the Pre-Sale to Develop Kin into a Functional
               Medium of Exchange that Is Not a Security

       The SEC never argues that Kin tokens constitute securities on their own. Instead, the SEC’s

Howey analysis is premised on conflating the pre-sale SAFT contracts with Kin tokens sold to the

public during Kin’s “Token Distribution Event” or the “TDE.” See, e.g., SEC MSJ at 30 (asserting

Kin purchasers expected profits because “SAFT participants had a profit incentive”). Properly

analyzing Kin tokens on their own leads to the conclusion that the SEC cannot establish that they

are securities, on the current summary judgment record, for multiple reasons.

       First, Kik used the capital it raised during the pre-sale to develop Kin into an autonomous

and operational digital asset. Especially at the summary-judgment stage, it is impossible to ignore

the steps reflecting Kik’s development of the technology, launch of Kin, and implementation of

Kin into Kik Messenger; these undoubtedly allowed users to consume and use Kin in an

autonomous manner. See Kik MSJ at 6–7, 10–11. Because Kik built Kin on the Ethereum

blockchain, which Kik did not control, Kin operated as a medium of exchange that could be used

by anyone, for any transaction, outside of Kik’s control. See id. at 11–12. The SEC cannot dispute

that Kin is usable as a medium of exchange, much less establish that undisputed facts show it is

not a useful medium of exchange. Nor can it deny that Kin is built on an open-source platform, so

that any developer can incorporate Kin into its own applications. See id.

       Second, attempts to fit Kin into Howey’s “investment contract” similarly fail for lack of

commonality. “Horizontal commonality” represents this Court’s standard way of assessing the

existence of a common enterprise. That requires showing “the tying of each individual investor’s

fortunes to the fortunes of the other investors by the pooling of assets, usually combined with the


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pro-rata distribution of profits.” Revak v. SEC Realty Corp., 18 F.3d 81, 87–88 (2d Cir. 1994).

That plainly did not exist for sales of Kin to public purchasers in the TDE, since Kik owed no

ongoing contractual obligations to those purchasers. See Kik MSJ at 18–21. Instead, those initial

public purchasers obtained complete control over their Kin and, of course, could decide to resell

the Kin or exchange them for goods of services. Id. at 21–23. The money Kik received from the

TDE was not “pooled,” tying investors’ fortunes to one another, either. Proceeds from the sale of

Kin through the TDE went to Kik, as occurs when a company sells any product or commodity,

with no corresponding equity stake or right to receive interest, dividends, or other pro rata profit

sharing. See id. at 23–25.

       Nor would there be “strict vertical commonality,” a mode of common enterprise that the

Second Circuit has neither adopted nor foreclosed. This type “requires that the fortunes of investors

be tied to the fortunes of the promoter.” Revak, 18 F.3d at 88. The SEC argues such fortunes are

sufficiently tied because “Kin investors understood that their fortunes would rise and fall with

those of Kik because of Kik’s large stake in Kin.” SEC MSJ at 24–25. This makes little sense.

Mere ownership of the same asset does not give rise to strict vertical commonality. Returning to

Chairman Clayton’s example, a theatre company promoting a Broadway play owns the same assets

that it sells to the public: tickets to the show. If the show is a hit, both the theatre company and

public purchasers can sell tickets to future shows for more money. But that does not place the

theatre company in strict vertical commonality with every person who purchased a ticket. See also

Kik MSJ at 25–27; Marini v. Adamo, 812 F. Supp. 2d 243, 257–58 (E.D.N.Y. 2011) (ownership

of same coins such that “their fortunes rise and fall together from owning identical property”

insufficient for strict vertical commonality where purchasers are “free to direct the sale of [their]

coins separate and apart from [the defendant’s] decision to sell his coins”).



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       The SEC attempts to shortcut the real meaning of commonality by asserting that “[a]ll of

the Kin . . . were fungible and provided their holders with the same rights.” SEC MSJ at 47. This

is mere rhetoric. The SEC never identifies a single right that a holder of Kin has. To be sure, all

holders of Kin have one right in common—the mere right to hold the Kin themselves. The SEC’s

argument that holders of Kin have pooled investments because Kin all carry the same rights would,

if it were correct, also show that holders of dollars, Bitcoin, and baseball cards have also pooled

their funds—those holders, too, all have the same rights to hold the same assets.

       The SAFTs, of course, gave their holders genuine pooled rights, and claims upon Kik

obligating Kik to develop Kin as a product and deliver it. The SEC insists that all Kin carry the

same rights, but ignores the fact that a holder of Kin, in itself, has rights quite different from (and

far narrower than) a SAFT purchaser had.

       Third, the SEC cannot point to undisputed facts that TDE purchasers had an “expectation

that they would earn a profit solely through the efforts” of others. Howey, 328 U.S. at 298. While

the SEC asserts that TDE purchasers bought Kin to profit, SEC MSJ at 30–31, Kik has submitted

contrary evidence. More than 10,000 purchasers bought Kin, half of whom bought less than $1,000

worth of Kin. Many are actively using and enjoying its features. See Kik MSJ at 10–13. This

contrasts markedly from the 175 investors in the Telegram SAFT that purchased more than $1

billion in Grams.

                                          CONCLUSION

       The Blockchain Association respectfully requests that this Court deny the SEC’s motion

for summary judgment, and ensure its ruling is narrowly tailored to avoid casting doubt on

cryptocurrency projects not before the Court.




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Dated: April 17, 2020.

                                      Respectfully submitted,

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